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                 IN THE UNITED STATES DISTRICT COURT


                 FOR THE SOUTHERN DISTRICT OF GEORGIA


                            STATESBORO DIVISION




THE UNITED STATES OF AMERICA,

                Plaintiff,

                                                                  Cop."
                 V.                             6:18CR14


DERRICK RIGGS,

                Defendant




                                 ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised    in the parties' motions have been resolved by

agreement.     Therefore,    a   hearing   in    this      case   is      deemed

unnecessary.    All motions are dismissed.



     SO ORDERED, this        Q   day of November, 2018.



                                     ED STATES MAGISTRATE JUDGE
                                    THERN DISTRICT OF GEORGIA
